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8                        IN THE UNITED STATES DISTRICT COURT
9                           EASTERN DISTRICT OF CALIFORNIA
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                                           )
11   UNITED STATES,                        ) CASE NO. 2:11-CR-00429 JAM
                                           )
12                         Plaintiff,      )
                                           )
13   v.                                    ) STIPULATION AND ORDER CONTINUING
                                           ) DATE FOR GOVERNMENT REPLY BRIEFS
14   CHRISTOPHER WARREN MACQUEEN,          ) UNTIL DECEMBER 18, 2012
     DOUGLAS ARTHUR JOHNSON, and           )
15   SCOTT HAMILTON DURHAM,                )
                                           )
16                         Defendants.     )
                                           )
17

18        The parties appeared before the Court on November 13, 2012, and

19   set a date for the United States reply briefs to the defendants’

20   motions filed on or about October 19, 2012.          At that time, the United

21   States was ordered to file its reply brief no later than December 11,

22   2012.   Any additional motions to be filed by any defendant were due

23   no later than January 8, 2013.       The United States reply to these

24   additional motions was ordered due on January 22, 2013.            A motion

25   hearing for all motions was set for February 12, 2013, at 1:30 p.m.

26        The United States hereby requests a continuance to file its

27   reply briefs from December 11, 2012, to December 18, 2012.              The

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1    parties who have either filed or joined motions to which the United
2    States was ordered to reply no later than December 11, 2012, do not
3    object to this continuance.     The parties further stipulate that time
4    should continue to be excluded from the calculation of time under the
5    Speedy Trial Act until the conclusion of the hearing on, or other
6    prompt resolution of, the motion to suppress by the Court.            18 U.S.C.
7    § 3161(h)(1)(D); Local Code E.
8    Dated: December 4, 2012                Respectfully Submitted,
9                                           BENJAMIN B. WAGNER
                                            United States Attorney
10

11
                                       By: /s/ Kyle Reardon
12                                         KYLE REARDON
                                           Assistant U.S. Attorney
13

14
     Dated: December 4, 2012                /s/ Kyle Reardon for
15                                          MALCOLM SEGAL
                                            Attorney for Christopher Macqueen
16

17
     Dated: December 4, 2012                /s/ Kyle Reardon for
18                                          TOM JOHNSON
                                            Attorney for Doug Johnson
19

20
     Dated: December 4, 2012                /s/ Kyle Reardon for
21                                          WILLIAM PORTANOVA
                                            Attorney for Scott Durham
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                                                       Stipulation and Proposed Order
                                           2                United States v. Macqueen
                                                                    2:11-CR-00429 JAM
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8                       IN THE UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
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                                          )
11   UNITED STATES,                       ) CASE NO. 2:11-CR-00429 JAM
                                          )
12                        Plaintiff,      )
                                          )
13   v.                                   ) ORDER GRANTING PARTIES’
                                          ) STIPULATION CONTINUING DATE FOR
14   CHRISTOPHER WARREN MACQUEEN,         ) GOVERNMENT REPLY BRIEF UNTIL
     DOUGLAS ARTHUR JOHNSON, and          ) DECEMBER 18, 2012
15   SCOTT HAMILTON DURHAM,               )
                                          )
16                        Defendants.     )
                                          )
17

18              The parties’ stipulation is approved and so ordered.        The

19   United States reply to the motions filed or joined on or about

20   October 19, 2012, shall be continued from December 11, 2012, to

21   December 18, 2012.    All other dates ordered at the November 13, 2012

22   status conference will remain the same.

23         Time shall continue to be excluded from the calculation of time

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              Case 2:11-cr-00429-JAM Document 99 Filed 12/12/12 Page 4 of 4


1    under the Speedy Trial Act until the conclusion of the hearing on, or
2    other prompt resolution of, the motion to suppress by the Court.              18
3    U.S.C. § 3161(h)(1)(D); Local Code E.
4    Dated:    12/12/2012
                                                    /s/ John A. Mendez
5                                                 JOHN A. MENDEZ
                                                  United States District Court
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                                                          Stipulation and Proposed Order
                                              4                United States v. Macqueen
                                                                       2:11-CR-00429 JAM
